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                          EXHIBIT 3
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                          EXHIBIT 4
              D.F. et al., v. Sikorsky Aircraft Corporation, et al.
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               In Support of Motion for Summary Judgment)
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                          EXHIBIT 5
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                          EXHIBIT 6
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                          EXHIBIT 7
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                          EXHIBIT 9
              D.F. et al., v. Sikorsky Aircraft Corporation, et al.
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                         EXHIBIT 10
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                         EXHIBIT 13
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                         EXHIBIT 15
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                         EXHIBIT 18
              D.F. et al., v. Sikorsky Aircraft Corporation, et al.
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                         EXHIBIT 19
              D.F. et al., v. Sikorsky Aircraft Corporation, et al.
                U.S.D.C., Case No.: 13:cv-00331-GPC-KSC
               (Exhibits to Declaration of John D. Wakefield
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